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                             UNITED STATES DISTRICT COURT
                                  DISTRICT OF IDAHO


RANDI ALLRED, an individual,                          Case No.

                             Plaintiff,
                                                      COMPLAINT AND DEMAND FOR
       V.                                             JURY TRIAL

HOME DEPOT USA, INC., dba THE HOME
DEPOT,

                           Defendant.


       Plaintiff, Randi Allred, an individual, by and through her counsel of record, Shelly H.

Cozakos of the firm Pickens Cozakos, P.A., and as a cause of action against Defendant Home

Depot USA, Inc., dba The Home Depot ("Defendant" or "Home Depot"), alleges and complains

as follows:

                                    JURISDICTION AND VENUE

       1.       This Court has subject matter jurisdiction over Plaintiffs claims pursuant to 28

U.S.C. §§ 1331 and 1332(a)(l); Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000, et

seq., as amended ("Title VII"), the Pregnancy Discrimination Act, 42 U.S.C. § 2000 e (k)


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("PDA"), and the Idaho Human Rights Act, § 67-590 et sec. ("IHRA") to redress employment

practices of Defendant in violation of these federal and state statutes.

        2.      The matter in controversy exceeds the sum or value of $75,000, exclusive of

interests and costs, and is between citizens of different states.

       3.       Venue is proper in this district pursuant to 28 U.S.C § 1391(b) & (c) and 42

U.S.C. § 2000, et sec. because a substantial part of the wrongful conduct complained of herein

occmTed in this district, Defendant transacts substantial business in this district and Defendant

maintains employment records related to this action in this district.

       4.       Plaintiff has exhausted her administrative remedies and complied with the

statutory prerequisites of Title VII by filling charges with the United States Equal Employment

Oppo1tunity Commission ("EEOC") and the Idaho Human Rights Commission ("IHRC")

alleging discrimination and has received a Notice of Right to Sue from both, copies of which are

attached as Exhibit A.

                                             PARTIES

       5.       Plaintiff Randi Allred (" Allred") is an Idaho resident.

       6.       Between January 2013 and January 2017 Allred was a female "employee" at

Home Depot, as defined by Title VII.

       7.       At all times relevant hereto, Allred was an "individual" or "person" as defined by

the IHRA.

       8.       Defendant Home Depot, Inc. ("Home Depot") is a Corporation organized and

existing under the laws of the State of Delaware, doing business in the State of Idaho.




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        9.        At all times relevant to this action, Home Depot was and is an "employer" as

defined by Title VII and the IHRA.

        10.       At all times relevant to this action, Home Depot was Allred' s employer under

Title VII and the IHRA.

                                        GENERAL FACTS

        11.      In or around January 2013, Allred started working at Home Depot in Meridian,

Idaho in a supervisory position.

        12.      Allred worked her way up to the position of Assistant Store Manager while at the

Meridian store.

        13.      In or around January 2015, Allred transfeITed to the Nampa, Idaho Home Depot,

where she worked as Assistant Store Manager.

        14.      At all times relevant hereto, the Nampa Store Manager was and is Josh Hazlett

("Hazlett").

        15.      At all times relevant hereto, Hazlett was Allred' s supervisor and point of contact

for all personnel issues.

        16.      Allred' s duties as Assistant Store Manager included supervision of the lumber,

hardware, plumbing and Pro departments.

        17.      Allred's position required considerable physical strength and exertion.

        18.      In or around March 2016, Allred informed Hazlett that she was pregnant.

       19.       In or around April 2016, began experiencing pregnancy complications that were

diagnosed by her doctor as Placenta Previa.




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        20.       As a result of her diagnosed medical condition, Allred was unable to perform her

regular job duties.

        21.       Subsequent to her diagnosis, Hazlett placed Allred on a leave of absence.

        22.       Allred utilized disability benefits, which were applied by the Human Resources

Department to her benefits under the Family Medical Leave Act ("FMLA").

        23.       By late August 2016, Allred has used up her FMLA benefits for the calendar year.

        24.       Allred continued to utilize disability benefits through the remainder of her

pregnancy.

        25.       On October 11 , 2016, Allred gave bi1ih to her son, Cayden Allred ("Cayden")

        26.       Following Cayden' s delivery, Allred' s physician reconunended she take twelve

weeks of recovery time.

        27.       Allred' s physician released her for a return to work on or about January 3, 2017.

        28.       Allred contacted Diana Quanstrom ("Quanstrom"), a representative in the Home

Depot human resources depaiiment ("HR"), that she intended to return to work after January 3,

2017.

        29.       Allred also contacted Hazlett in December 2016, requesting that she be placed on

the work schedule for January 3, 2017.

        30.       Hazlett scheduled Allred to return to work on January 5, 201 7.

        3 1.      When Allred anived for work that day, she discovered that Hazlett had not made

arrangements for her return.

        32.       Hazlett was not present at the store that day.




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        33.      Allred contacted the HR department and was told, upon information and belief,

that Hazlett had failed to activate her return to work status in the computer system.

        34.      Allred was informed that she would have to fill out a form before starting work,

and that she could not work or receive any pay therefor until the following day.

        35.      Allred returned to work on January 6, 2017.

        36.      Upon arriving at work, Allred informed the Medical Health Management

("MHM")        department   that   she   would   need   certain post-pregnancy     accommodations

("Accommodations") in the workplace due to her physical need to express and store breast milk

for Cayden.

        37.      During Cayden's first few months of life, it had been discovered that he was

allergic to both milk and soy, the main components of store bought baby formula.

        38.      As a result of his severe allergies, Cayden required Allred's breast milk as his

exclusive source of nourishment.

        39.      To document the medical necessity for Accommodations, Allred provided the

MHM with a Home Depot official Certification of Health Care Provider Form- Associate's

Serious Health Condition ("Certification") signed by her physician, attached hereto as Exhibit A.

        40.      The   Certification specified that Allred would        need additional breaks,

approximately 30 minutes every three hours to express her breast milk, up through October 11 ,

2017.

        41.      Upon its receipt of the Certification, the MHM department instructed Allred to

work directly with Hazlett for these Accommodations to be incorporated into her schedule.




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        42.     Despite   speaking    to     Hazlett   directly   about   her   medically   necessary

Accommodations, Hazlett scheduled Allred for seven straight days of ten-hour shifts without

incorporating any breaks for Allred to express her breast milk.

       43.      After receiving the request for accommodation, Hazlett essentially ignored the

request, refused to review or address the request with Allred, and ultimately denied the request

by refusing to follow it or make any accommodations to Allred's schedule.

       44.      Allred had not been scheduled for shifts of this duration with no days off prior to

going on her FMLA leave, and was surprised by the rigorous schedule Hazlett placed her on.

       45.      When her schedule and the rotation she had been placed on made expression of

her breast milk impossible, Allred again requested that Hazlett honor her Accommodations.

       46.      Hazlett was unwilling to discuss any modification to Allred's schedule to

incorporate her Accommodations.

       47.      Home Depot' s own policies require it to respond within three days, to any request

for accommodation.

       48.      Allred then attempted to contact Hazlett via text, offering to use two weeks of

vacation time she had accrued to reduce her shift length and allow her to either express her breast

milk or to be available to nurse her baby.

       49.      Hazlett did not respond to Allred's text.

       50.      Hazlett continued to schedule Allred for ten-hour shifts without any breaks for

expression of her breast milk.

       51.      Allred suffered from pain and discomfmi from the inability to take breaks to

express her breast milk as required by her Accommodations.



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        52.      As a result of being denied her Accommodations, Allred's breast milk began

drying up, and she could not provide Cayden with the quantity of food he needed to continue

being adequately nourished.

        53.      On or about January 26, 2017 Allred contacted Quanstrom via email requesting

assistance with receiving her Accommodations.

        54.      In her email, Allred expressed her concern to Quanstrom that if she could not

receive her Accommodations, she would likely be forced to leave her position.

        55.      Allred also left a message for the District Manager, Trevor Cantwell ("Cantwell")

requesting his assistance in receiving her Accommodations.

        56.      On or about that same day, Allred received an email from Hazlett, assuring her

they would meet the following day, January 27, 2017.

        57.      When she aiTived at work the following day, Allred once again discovered there

was no coverage in place that would allow her to receive her Accommodations to express her

breast milk.

        58.      While waiting for Hazlett's arrival at work at 2:00 p.m. so that she could again

request her need for her Accommodations, Allred continued to experience extreme physical pain

as a result of her inability to express her breast milk.

        59.      By the time she spoke with Hazlett that day, her pain was so intolerable, Allred

felt she could not physically continue working.

        60.      When Allred spoke with Hazlett, requesting time to express her breast milk per

her Accommodations, he expressed no real understanding or concern for the seriousness of her

condition.



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       61.     Rather, Hazlett informed Allred that her position at Home Depot would be

difficult for her to maintain over time anyway since should her children become sick, Allred' s

husband would be unavailable to care for them, making it impossible for her to work her

schedule as required.

       62.     Allred informed Hazlett that without her Accommodations, she did not believe

that she would be able to continue working at Home Depot.

       63.     Allred explained to Hazlett that she was physically unable to continue the

discussion since she needed to first express her breast milk, and requested that they continue

their talk the following week when she returned for her next shift.

       64.     That evening, Quanstrom called Allred at home, ostensibly to offer an apology for

Hazlett's lack of responsiveness.

       65.     Allred once again expressed to          Quanstrom the    need to    receive   her

Accommodations, allowing her the breaks necessary to express her breast milk.

       66.     At no time during their conversation did Quanstrom offer any assurances that

Allred's Accommodations would be provided, or any s01t of alternative accommodation that

would allow Allred to continue in her position at Home Depot.

       67.     When Allred returned to work on the morning of January 30, 2017, she made one

last effort to request her Accommodations from Hazlett.

       68.     While in Hazlett's office, Cantwell and Quanstrom called Allred' s work phone,

and she put them on speaker phone to join the discussion.




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       69.      Rather than offering compliance with Allred' s Accommodations, or any other

viable accommodation, Quanstrom instead asked Allred if she had made a decision about staying

in or resigning her position at Home Depot.

       70.      Allred explained that she had continued to work all month without any

Accommodations, and that as a result, she had suffered not only great physical pain, but that her

breast milk had almost completely dried up.

       71 .     Allred asked Hazlett, Cantwell and Quanstrom how her Accommodations would

be provided should she remain at Home Depot.

       72.      None of the paiiies offered Allred any assurances ore represented that her

Accommodations would be provided.

       73.      None of the paiiies asked what shifts Allred would need, what coverage she

believed would be necessary to provide her Accommodations, or any other questions relevant to

complying with her Accommodations.

       74.      The working conditions created by Home Depot had become so intolerable that

no reasonable person in Allred' s position could continue working. Allred therefore informed

Hazlett, Cantwell and Quanstrom that she could no longer continue working at Home Depot

under the cmTent circumstances.

       75.      Quanstrom replied that she was "sorry it did not work out."

       76.      Allred left her position at Home Depot on January 30, 2017.

       77.      Before she left, Allred made demand for payment of her two weeks' unused

vacation pay.

       78.      Hazlett assured Allred that she would receive ·said pay.



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        79.     Allred continued to text Hazlett throughout February 2017 regarding said vacation

pay, but she has never received payment therefor.

        80.     Upon information and belief, while Allred was on pregnancy leave under the

FMLA, Hazlett was heard telling other employees that she was not likely to return to her position

at Home Depot.

        81.     Upon information and belief, while Allred was on pregnancy leave under the

FMLA, Hazlett hired a replacement for her.

        82.     Upon information and belief, Hazlett had begun interviewing for, and had already

hired a replacement for Allred prior to her resignation on January 30, 2017.

        83.     Upon information and belief, Home Depot did not investigate Allred's concerns,

including her complaints of pregnancy discrimination at any time prior or subsequent to her

resignation on January 30, 2017.

        84.     Home Depot cultivates a work environment and culture that discriminates against

female employees in general, as well as pregnant employees and female employees who have

child-rearing responsibilities in particular.

        85.     Despite Allred's skills, qualifications, experience, and compliance with all

management and scheduling demands, Home Depot management discriminated against her

based on her gender, her pregnancy, her taking of maternity leave, her pregnancy-related

condition, and her caregiving responsibilities, by failing to provide her Accommodations, by

overscheduling her, making ridiculing comments, and creating a hostile work environment,

ultimately resulting in her constructive discharge.




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         86.      Allred is now out of work and her ability to supp01t herself and her family have

been greatly affected.

   COUNT I-VIOLATION OF TITLE VII OF THE CIVIL RIGHTS ACT OF 1964, 42
                          U.S.C. § 2000 et seq.
                   PREGNANCY DISCRIMINATION

         87.     The foregoing paragraphs are hereby incorporated by this reference and restated

as if set fo1th in full.

         88.     Home Depot has discriminated against Allred in violation of Title VII because of

or on the basis or pregnancy, childbi1th, or related medical condition.

        89.      Lactation is a medical condition related to childbi1th, and as such, is protected

under Title VII's Pregnancy Discrimination Act ("PDA").

        90.      When Allred returned to work after her pregnancy leave, she was lactating, which

required accommodations to allow her the oppo1tunity to express her breast milk.

        91.      Home Depot's conduct in the unreasonable scheduling of Allred, and failure to

provide Allred with this medically necessary accommodation constitutes discrimination based on

lactation.

        92.      Discrimination based on lactation constitutes sex discrimination under the PDA.

        93.      Allred was treated differently for all employment-related purposes including

conditions of employment in her workplace than other employees with similar ability to work

who were either male, not pregnant, not known to be pregnant, or without a medical condition

related to childbirth.

        94.      Home Depot failed to prevent, respond to, adequately investigate and/or

appropriately resolve the pregnancy and/or sex discrimination against Allred in the workplace.



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         95.      Home Depot's policies, practices, and/or procedures produced a disparate impact

on Allred with respect to the terms and conditions of her employment.

         96.      As a direct and proximate result of Home Depot's conduct alleged herein, Allred

has suffered and continues to suffer harm, including but not limited to lost wages, lost back pay

and front pay, lost future employment opportunities, and other financial loss, as well as non-

economic damages.

         97.      As a fmiher and direct and proximate result of Home Depot's unlawful conduct,

Allred has suffered pain, humiliation, embarrassment, emotional and physical distress, and

mental anguish.

         98.      By reason of Home Depot's discrimination, Allred is entitled to all legal and

equitable remedies to recover such monetary and other damages, including compensatory and

punitive damages from Home Depot under Title VII.

         99.       Attorneys ' fees and costs should be awarded under 42 U.S .C. § 2000 et seq.

    COUNT II-VIOLATION OF TITLE VII OF THE CIVIL RIGHTS ACT OF 1964
                         42 U.S.C. § 2000 et seq.
                     CONSTRUCTIVE DISCHARGE

         100.    The foregoing paragraphs are hereby incorporated by this reference and restated

as if set fo11h in full.

         101 .   Home Depot has discriminated against Allred in violation of Title VII because of

or on the basis or pregnancy, childbirth, or related medical condition.

         102.    Lactation is a medical condition related to childbirth, and as such, is protected

under Title VII' s Pregnancy Discrimination Act ("PDA").




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        103.     When Allred returned to work after her pregnancy leave, she was lactating, which

required accommodations to allow her the opp01iunity to express her breast milk.

        104.     Home Depot' s conduct in the umeasonable scheduling of Allred, and failure to

provide Allred with this medically necessary accommodation constitutes discrimination based on

lactation.

        105.    Discrimination based on lactation constitutes sex discrimination under the PDA.

        106.    Other employees who were either male, not pregnant, or not known to be

pregnant with temporary injuries were provided with reasonable accommodations by Home

Depot to allow them to continue in their positions until they had recovered from said injuries.

        107.    Allred' s accommodation did not constitute a special accommodation, but was

rather a request for equal treatment as other persons not so affected but similar in their ability or

inability to work as required by the PDA.

        108.    Home Depot's refusal to provide Allred an accommodation afforded to other

employees, along with derogatory comments from Hazlett regarding her caregiver status and

pregnancy-related condition made Allred feel ashamed, self-conscious, and ostracized based

upon her sex.

        109.    Home Depot's and Hazlett's actions, combined with the physical pain Allred

experienced as a result of being denied the opportunity to express her breast milk while at work,

and the stress and anxiety she felt at not being able to provide Cayden with the nourishment he

needed forced Allred' s resignation.

       110.     Home Depot's and Hazlett's discrimination and repeated misconduct against

Allred resulted in the creation of a work environment so intolerable that it forced her resignation.



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         111.     Said resignation constitutes a constructive discharge under Title VII.

         112.     Home Depot's conduct was intentional, deliberate, willful, malicious, reckless,

and conducted in callous disregard of the rights of Allred as a member of this protected class,

entitling her to punitive damages.

         113 .    As a direct and proximate result of Home Depot's conduct alleged herein, Allred

has suffered and continues to suffer harm, including but not limited to lost wages, lost back pay

and front pay, lost future employment opportunities, and other financial loss, as well as non-

economic damages.

         114.     As a further and direct and proximate result of Home Depot's unlawful conduct,

Allred has suffered pain, humiliation, embanassment, emotional and physical distress, and

mental anguish.

         115.     By reason of Home Depot's discrimination, Allred is entitled to all legal and

equitable remedies to recover such monetary and other damages, including compensatory and

punitive damages from Home Depot under Title VII.

         116.     Attorneys' fees and costs should be awarded under 42 U.S.C. § 2000 et seq.

                 COUNT III-VIOLATION OF FAMILY MEDICAL LEAVE ACT
                                29 U.S.C.A. § 2611, et seq.

         11 7.    The foregoing paragraphs are hereby incorporated by this reference and restated

as if set f01ih in full.

         118.     Under the Family Medical Leave Act, ("FMLA"), an employee must be restored

by the employer to the same position held by the employee when the leave commenced, or to an

equivalent position with equivalent employment benefits, pay, and other terms and conditions of

employment.


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       119.    Further, an employer cannot use the taking of FMLA leave as a "negative factor"

in employment actions such as scheduling and providing accommodations or benefits.

       120.    Allred took approved FMLA leave for maternity leave in 2016.

       121.    Hazlett and/or Home Depot interfered with Allred' s taking of protected maternity

leave, and discriminated against her for the taking of such leave, in violation of the FMLA.

       122.    Hazlett and/or Home Depot interfered with Allred's taking of FMLA-protected

maternity leave and discriminated against her for taking such leave by using the taking of FMLA

leave as a negative factor in employment actions upon her return therefrom, including, inter alia,

scheduling Allred for ten-hour shifts, seven days a week, denying her pregnancy-related

condition accommodations, creating an environment hostile to pregnancy and the taking of

statutorily protected maternity leave, and constructively discharging Allred.

       123.    Home Depot's conduct was intentional, deliberate, willful, malicious, reckless,

and conducted in callous disregard of the rights of Allred under the FMLA, entitling her to

punitive damages.

       124.    As a direct and proximate result of Home Depot's conduct alleged herein, Allred

has suffered and continues to suffer harm, including but not limited to lost wages, lost back pay

and front pay, lost future employment opportunities, and other financial loss, as well as non-

economic damages.

       125.    As a further and direct and proximate result of Home Depot's unlawful conduct,

Allred has suffered pain, humiliation, embmrnssment, emotional and physical distress, and

mental anguish.




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         126.     By reason of Home Depot's discrimination, Allred is entitled to all legal and

equitable remedies available for violations of the FMLA, including an award of liquidated

damages for all willful violations, prejudgment interest, attorneys' fees, costs, and other

compensation pursuant to 29 U.S.C.A. § 2617.

 COUNT VI-DISCRIMINATION IN VIOLATION OF IDAHO HUMAN RIGHTS ACT
                    IDAHO CODE § 67-5900 et sec.

         12 7.   The foregoing paragraphs are hereby incorporated by this reference and restated

as if set forth in full.

         128.    As an employer as defined by the Idaho Human Rights Act ("IHRA"), Idaho

Code § 67-5902, Home Depot was required to comply with the requirements therein in its hiring

and treatment of employees.

         129.    Pursuant to the IHRA, Home Depot is prohibited from discriminating against an

employee on the basis of sex or a disability.

         130.    Allred is person protected by the IHRA.

        131.     Per the IHRA, Home Depot is prohibited from discriminating against Allred

based on sex or a disability.

        132.     When Allred returned to work after her pregnancy leave, she was lactating, which

required an accommodation to allow her the opportunity to express her breast milk.

        133.     Allred's post-pregnancy condition requiring an accommodation to express her

breast milk was a direct result of her sex and was a protected disability under the IRHA.

        134.     Home Depot's conduct in the unreasonable scheduling of Allred, and failure to

provide her with this medically necessary accommodation constitutes discrimination based on

her sex and her disability.


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        135.    Other employees who were either male, not pregnant, or not known to be

pregnant with temporary injuries were provided with reasonable accommodations by Home

Depot to allow them to continue in their positions until they had recovered from said injuries.

        136.    Had Home Depot provided Allred with the reasonable accommodation of

allowing her the opp01iunity to express her breast milk, she would have been able to continue to

perform her job duties.

        13 7.   Home Depot's refusal to provide Allred an accommodation afforded to other

employees, along with derogatory comments from Hazlett regarding her caregiver status and

pregnancy-related condition made Allred feel ashamed, self-conscious, and ostracized based

upon her sex and her disability.

        138.    Home Depot's and Hazlett's actions, combined with the physical pain Allred

experienced as a result of being denied the opportunity to express her breast milk while at work,

and the stress and anxiety she felt at not being able to provide Cayden with the nourishment he

needed forced Allred' s resignation.

        139.    Home Depot's and Hazlett's unlawful discrimination against Allred resulted in

the creation of a work environment so intolerable that it forced her resignation.

       140.     Said resignation constitutes a constructive discharge under the IHRA.

       141.     Home Depot's conduct was intentional, deliberate, willful, malicious, reckless,

and conducted in callous disregard of the rights of Allred as a member of this protected class,

entitling her to punitive damages pursuant to Idaho Code§ 67-5908(3)(e).

       142.     As a direct and proximate result of Home Depot' s conduct alleged herein, Allred

has suffered and continues to suffer harm, including lost wages, lost back pay and front pay.



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         143.     As a further and direct and proximate result of Home Depot's unlawful conduct,

Allred has suffered pain, humiliation, embarrassment, emotional and physical distress, and

mental anguish.

         144.     By reason of Home Depot's discrimination, Allred is entitled to all legal and

equitable remedies to recover such monetary and other damages, including compensatory and

punitive damages from Home Depot pursuant to Idaho Code§ 67-5908(3)(c) and (e).

                                   COUNT V- WAGE CLAIM

         145.    The foregoing paragraphs are hereby incorporated by this reference and restated

as if set forth in full.

         146.    Allred 1s owed the equivalent of two weeks' accrued vacation pay, or

approximately $2340.00, which constitutes wages pursuant to Idaho Code § 45-601 et seq.

         147.    Defendant refused to allow Allred to use the vacation pay when requested as paii

of her accommodation, and then promised to pay it to her upon te1mination of employment.

         148.    Upon termination of her employment, Allred duly demanded payment of said

wages from Home Depot, pursuant to Idaho Code§ 45-606 (1).

        149.     Home Depot fail ed to make payment to Allred of said wages within the time

required by Idaho Code § 45-606(1 ).

        150.     Home Depot has continued to refuse to pay said wages to Allred.

        151 .    Allred is entitled to payment of said wages, and a penalty of three times the

amount of wages owed her pursuant to Idaho Code § 45-615(2), or the approximate total amount

of $9360.00.

                               COUNTIV
           BREACH OF THE COVENANT OF GOOD FAITH & FAIR DEALING


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         152.     The foregoing paragraphs are hereby incorporated by this reference and restated

as if set fmth in full.

         153.     In Idaho, there is an implied covenant of good faith and fair dealing in every

contract of employment, which requires the parties to refrain from taking any action that violates,

nullifies or significantly impairs any employment benefit or right.

         154.     Defendant breached this covenant by denying Allred the benefits of her

employment agreement by discriminating against her; refusing to allow her the time necessary to

extract breast milk for her baby; and by constructively terminating her employment for

attempting to exercise these benefits and rights of employment.

         155.     As a result of Defendant' s actions, Allred has suffered contract damages, which

exceed $75 ,000.

                                             COUNTV
                                        BREACH OF CONTRACT

         156.    The foregoing paragraphs are hereby incorporated by this reference and restated

as if set fo1th in full.

         157.    Defendant issued to Allred a handbook and other employment policies which

constitute a contract of employment.

         158.    Defendant failed to follow its own policies and procedures in its handbook and

otherwise follow its own employment policies, thereby breaching the contract.

         159.    As a result of Defendant' s actions, Allred has suffered contract damages, which

exceed $75,000.

                                       ATTORNEYS' FEES



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             1. The foregoing paragraphs are hereby incorporated by this reference and restated as

   if set fmih in full.

             2. It has been necessary for Allred to retain counsel to prosecute this action to protect

   her rights as herein set forth and Allred requests that all of her reasonable attorneys' fees and

   costs be awarded by the Court pursuant to Idaho Code§§ 12-120(3), 12-121 , 45-615(2), Title

   VII, the FMLA, Federal Rule of Civil Procedure 54, or other applicable law.

                                   DEMAND FOR JURY TRIAL

        Pursuant to Federal Rule of Civil Procedure 38(b ), Allred hereby demands a trial by a

jury on all triable issues.

                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiff Allred prays for judgment against Defendant Home Depot as

follows:

        1.       For the entry of judgment in her favor as to each Count pied.

        2.       That judgment as to each Count pied be entered in accordance with the manner in

which judgment was requested at the end of each Count pied.

        3.       For the recovery of prejudgment interest at the rate allowed by law on any

liquidated amounts due to Allred from the date they became due.

        4.        For an award of costs and reasonable attorneys' fees to Allred;

        5.       For other costs and expenses necessarily incmTed in the prosecution of this action;

and

        6.       For such other relief the Court just and equitable under the circumstances.

        DATED: November 27, 2017.



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                                      PICKENS COZAKOS, P.A.



                                      By       ls/Shelly H Cozakos
                                           Shelly H. Cozakos, of the Firm
                                           Attorneys for Plaintiff Randi Allred




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                                             VERIFICATION

STATE OF IDAHO )
               : ss
County of Ada  )


       Randi Allred, being first duly sworn, deposes and says:

       That she is the Plaintiff in the above-entitled matter, she has read the foregoing, she

knows the contents thereof, she believes that facts state                     e to the best of her

knowledge and belief, and executed the same.




       SUBSCRIBED AND SWORN To before me this _S__ day of                    Oc~                  , 2017.




                                              Residing at ~~~4-------C...i~c,...J,~~=:r-l
                                              My Commission Expires: _.....'-'-I-J'"*"'-.µ.A<-=,""-"- - - -




COMPLAINT AND DEMAND FOR JURY TRIAL
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                                     EXHIBIT A
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 EEOC Form 161-8 (11/16)                   U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

                                         NOTICE OF RIGHT TO                 SUE (ISSUED ON REQUEST)
 To:    Randi Allred                                                                      From :   Seattle Field Office
        C/0 Shelly Cozakos                                                                         909 First Avenue
        398 S 9th St. Ste. 240                                                                     Suite 400
        Boise, ID 83701                                                                            Seattle, WA 98104-1061




       D          On behalf of person(s) aggrieved whose identity is
                  CONFIDENT/AL (29 CFR §1601. 7(a))

 EEOC Charge No.                                         EEOC Representative                                               Telephone No.

                                                         Alexandria Arbogast,
 551-2017-01652                                          Investigator                                                      (206) 220-6884
                                                                                       (See also the additional information enclosed with this form.)
NOTICE TO THE PERSON AGGRIEVED:
Title VII of the Civil Rights Act of 1964, the Americans with Disabilities Act (ADA), or the Genetic Information Nondiscrimination
Act (GINA) : This is your Notice of Right to Sue, issued under Title VII, the ADA or GINA based on the above-numbered charge. It has
been issued at your request. Your lawsuit under Title VII , the ADA or GINA must be filed in a federal or state court WITHIN 90 DAYS
of your receipt of this notice; or your right to sue based on this charge will be lost. (The time limit for filing suit based on a claim under
state law ma;y be different.)

       D         More than 180 days have passed sinc;:e _the filing of this charge.

       [KJ       Less than 180 days have passed since the filing of this charge, but I have determined that it is unlikely that the· EEOC will
                 be able to complete its administrative processing within 180 days from the filing of this charge.
       [KJ       The EEOC is terminating its processing of this charge.

       D         The EEOC will continue to process this charge.

Age Discrimination in Employment Act (ADEA): You may sue under the ADEA at any time from 60 days after the charge was filed until
90 days after you receive notice that we have completed action on the charge. In this regard, the paragraph marked below applies to
your case:
       D         The EEOC is closing your case. Therefore, your lawsuit under the ADEA must be filed in federal or state court WITHIN
                 90 DAYS of your receipt of this Notice. Otherwise, your right to sue based on the ·above-numbered charge will be lost.


       D         The EEOC is continuing its handling of your ADEA case. However, if 60 days have passed since the filing of the charge,
                 you may file suit in federal or state court under the ADEA at this time.                                      :·

Equal Pay Act (EPA): You already have the right to sue under the EPA (filing an EEOC charge is not required.) EPA suits must be brought
in federal or state court within 2 years (3 years for willful violations) of the alleged EPA underpayment. This means that backpay due for
any violations that occurred more than 2 years (3 years) before you file suit may not be collectible.

If you file suit, based on this charge, please send a copy of your court complaint to this office.

                                                     ___ _ __          _ ... On behalf.of the.Commission




Enclosures(s)
                                                    1i~.~                  Nancy A. Sienko,
                                                                              Director
                                                                                              fqL,</,?S
                                                                                                                             1
                                                                                                                                 AUG 2.9 2017
                                                                                                                                  (Date Mailed)




cc:

              HOME DEPOT
              Human Resource Office
              2003 N Cassia St
              Nampa, ID 83651
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                                                 IDAHO HUMAN RIGHTS COMM ISSION 317 W. Main St. Boise. ID 83735
                                                         t: 20 8.334 .2873 f: 208 .334.2664 w : huma nrig hl s.idaho.gov




NOTICE OF ADMINISTRATIVE DISMISSAL
AND RIGHT TO SUE


Shelly Cozakos                                                     Anne Budniewski, EEO
Pickens Cozakos, P.A.                                              The Home Depot
P. 0. Box 915                                                      3800 W. Chapman Ave
Boise, ID 83701                                                    Orange, CA 92868

RE : Randi Allred vs. Home Depot U.S. A. Inc.
     d/b/a The Home Depot
     Complaint No: AD-7-0917-086; 38C-2017-00549



The above complaint filed with the Human Rights Commission is hereby dismissed pursuant
to the
Commission's Rules and Procedures for the following reason:

[XI      Complainant has requested administrative dismissal and notice of right to sue.

[ I      Failure of the Complainant to cooperate w ith the Commission in the processing of the
         case, including failure to answer interrogatories.

[ I      Inability to locate Complainant.

[I       Investigation indicates that the case is not jurisdictional.

[I       The Complainant has filed a suit in either state or federal court alleging the same
         unlawful practices.

[I       Other·--------------------------------- -------


This dismissal concludes the Commission's processing of this charge. This is also
Complainant's Notice of Right to Sue under the Idaho Human Rights Act. A private action
under the Idaho Human Rights Act must be filed in district court within ninety (90) days of the
date of this notice of administrative dismissal. Failure to comply with this timeline may cause
Complainant to lose the right to go to court. Complainant should consult with an attorney, if
litigation is a consideration.



                                                            , ~1:::-:::::::)
Date I     I                                               B e ~ira'rwicker, PhD, Administrator
